     Case 1:22-cv-00021-SPW-KLD Document 9 Filed 03/31/22 Page 1 of 11


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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION


 U HANGING SEVEN RANCH, INC.                 CV-22-21-BLG-SPW-KLD
 a Montana profit corporation,
 QUARTER CIRCLE UU RANCH, a
 Montana profit corporation, and CODY
 JOHNSON, individually,

             Plaintiffs,                  DEFENDANT’S RESPONSE TO
                                          PLAINTIFFS’ BRIEF IN SUPPORT
       v.                                 OF MOTION TO REMAND

 ONEOK ELK CREEK PIPELINE,
 L.L.C., a foreign limited liability
 company,

            Defendant.


      Defendant ONEOK Elk Creek Pipeline, L.L.C. (“ONEOK”) submits its

response brief in opposition to Plaintiff’s Motion to Remand.




                             Response to Brief in Support of Motion to Remand - 1
        Case 1:22-cv-00021-SPW-KLD Document 9 Filed 03/31/22 Page 2 of 11


                            FACTUAL BACKGROUND

        On March 28, 2019, Defendant entered into an Easement and Right-of-Way

Agreement with Plaintiff Quarter Circle UU Ranch (hereinafter referred to as the

“Agreement”). Per the terms of the Agreement, Plaintiff granted a permanent

easement over the property for the purpose of building a petroleum pipeline. ECF

Doc. No. 1, Ex. A, p. 1. During the construction of this pipeline, Plaintiff claims

that Plaintiff U Hanging Seven Ranch, Inc. kept cattle in fenced pastures and grew

hay on Plaintiff Quarter Circle UU Ranch’s property. ECF Doc. No. 5, p. 5, ¶ 23.

        Plaintiff claims that during the construction of this pipeline, Defendant’s

subcontractor “broke fence gates, left gates open and unattended, and broke

underground water pipes.” Id. at ¶ 25. Plaintiff alleges that this conduct allowed

Plaintiff U Hanging Seven Ranch, Inc.’s cattle to escape, breed, and charge

Plaintiff Cody Johnson. Id. at ¶¶ 28–35. In addition to Plaintiff Cody Johnson’s

alleged bodily injuries, Plaintiffs allege that the cattle’s breeding was improper and

resulted in damage to the herd. Id. at ¶¶ 30–38. Finally, Plaintiffs claim that

Defendant’s pipeline construction injured and killed four cows and one bull. Id. at

¶ 38.

                             PROCEDURAL HISTORY

        Plaintiffs filed their complaint in the District Court of the Sixteenth Judicial

District in Fallon County. Several months later, ONEOK received a Summons and

copy of the Complaint. ONEOK then timely filed its Notice of Removal with this

                                Response to Brief in Support of Motion to Remand - 2
     Case 1:22-cv-00021-SPW-KLD Document 9 Filed 03/31/22 Page 3 of 11


Court. ONEOK based subject matter jurisdiction on 28 U.S.C. §§ 1332(a)(1),

1441, and 1446.

      On March 17, Plaintiffs filed their Motion to Remand. They ground their

motion on the language of the Governing Law Clause of the Agreement.

                               LEGAL STANDARD

      An action may be removed to federal court if the federal court could have

exercised original jurisdiction. See, e.g., Andersch v. Northwestern Corp., 2010

WL 3034606, at *1 (D. Mont. 2010) (citing 28 U.S.C. § 1441). While federal

courts strictly construe the right to remove, courts “must be equally vigilant in

protecting a defendant’s right to proceed in federal court as it is in respecting the

state court’s right to retain jurisdiction.” Hialeah Anesthesia Specialists, LLC v.

Coventry Health Care of Fla., Inc., 258 F. Supp. 3d 1323, 1327 (S.D. Fla. 2017).

“Removal based on diversity jurisdiction is intended to protect out-of-state

defendants from possible prejudices in state court.” Lively v. Wild Oats Markets,

Inc., 456 F.3d 933, 940 (9th Cir. 2006) (citing Tosco Corp. v. Cmtys. for a Better

Env’t., 236 F.3d 495, 502 (9th Cir. 2001)). Federal district courts enjoy discretion

to grant or deny a motion to remand. See Baddie v. Berkeley Farms, Inc., 64 F.3d

487, 490 (9th Cir. 1995).




                               Response to Brief in Support of Motion to Remand - 3
     Case 1:22-cv-00021-SPW-KLD Document 9 Filed 03/31/22 Page 4 of 11


                                       ARGUMENT

I.    Plaintiffs’ Motion to Remand should be denied because the Agreement’s
      Governing Law Clause is permissive, not exclusive.

      Plaintiffs argue that the language of the Agreement mandates that the parties

litigate their disputes in Fallon County. In diversity cases, the interpretation and

enforcement of a forum selection clause is governed by federal law. Fayle v. TSYS

Merchant Solutions, LLC, 470 F. Supp. 3d 1182, 1184 (D. Mont. 2020) (citing Doe

1 v. AOL LLC, 552 F.3d 1077, 1081 (9th Cir. 2009)). Under federal law, “‘the

plain language of the contract should be considered first[.]’” Simonoff v. Expedia,

Inc., 643 F.3d 1202, 1205 (9th Cir. 2011) (quoting Klamath Water Users

Protective Ass’n v. Patterson, 204 F.3d 1206, 1210 (9th Cir. 1999)). “[T]he

common or normal meaning of language will be given to the words of a contract

unless circumstances show that in a particular case a special meaning should be

attached to it.” Doe 1, 552 F.3d at 1081.

      The first interpretive issue is whether the Governing Law Clause is

mandatory or permissive. When interpreting forum selection clauses, federal courts

presume that forum selection clauses are permissive—the parties merely authorize

jurisdiction in a designated forum and do not prohibit litigation elsewhere. See,

e.g., Target Corp. v. Seaman Corp., 2019 WL 3822325, at *6 n.1 (D. Minn.

2019)(citing Fla. State Bd. of Admin. v. Law Eng’g & Envtl. Servs., Inc., 262 F.

Supp. 2d 1004, 1009 (D. Minn. 2003)). On the other hand, mandatory forum


                               Response to Brief in Support of Motion to Remand - 4
     Case 1:22-cv-00021-SPW-KLD Document 9 Filed 03/31/22 Page 5 of 11


selection clauses dictate the exclusive forum for the litigation of claims.

Yankeecub, LLC v. Fendley, 2021 WL 3603053, at *3 (D. Mont. 2021). For a

forum selection clause to be considered mandatory and thus restrict venue to the

court specified in the agreement, the language must clearly designate the court as

the exclusive forum. See Avista Corp. v. Northwestern Corp., 2021 WL 6061795,

at *4 (E.D. Wash. 2021)(citing Hunt Wesson Foods, Inc. v. Supreme Oil Co., 817

F.2d 75, 76-77 (9th Cir. 1987)).

      As a preliminary matter, Plaintiffs’ point that Defendants drafted the

Agreements rings hollow. Ordinarily, when contractual terms are ambiguous, a

court should construe the language against the drafter of the contract. See, e.g.,

Interpetrol Bermuda Ltd. v. Kaiser Aluminum Int’l Corp., 719 F.2d 992, 998 (9th

Cir. 1983). But even assuming that the Governing Law Clause is reasonably

susceptible of more than one interpretation, the Agreement provides that “the terms

and provisions . . . are not to be construed more liberally in favor of, or more

strictly against, either Party.” ECF Doc. No. 1., Ex. A., p. 12.

      In this case, the plain language of the Agreement makes clear that the parties

merely authorized jurisdiction in Fallon County:

      This Agreement shall be governed by the laws of the State of Montana,

      and the venue of any action brought concerning the interpretation or

      enforcement of this Agreement shall be proper in the County in which

      the Property is located.

                                 Response to Brief in Support of Motion to Remand - 5
      Case 1:22-cv-00021-SPW-KLD Document 9 Filed 03/31/22 Page 6 of 11


ECF Doc. No. 1., Ex. A., p. 12.

      Federal courts across the circuits interpreting similar language have

concluded that such language is permissive, not mandatory. Caldas & Sons, Inc. v.

Willingham, 17 F.3d 123 (5th Cir. 1994) (“[t]he laws and courts of Zurich are

applicable.”); King v. PA Consulting Group, Inc., 78 Fed. Appx. 645, 646 (10th

Cir. 2003) (“[t]his agreement and all matters arising in connection with it shall be

governed by the law of the State of New Jersey and shall be subject to the

jurisdiction of the New Jersey Courts.”); see also John Boutari & Son, Wines &

Spirits, S.A. v. Attiki Imps. & Distribs. Inc., 22 F.3d 51, 52 (2d Cir. 1994) (“[t]his

Agreement shall be governed and construed to the Laws of Greece. Any dispute

arising between the parties hereunder shall come within the jurisdiction of the

competent Greek Courts, specifically of the Thessaloniki Courts.”).

      Hunt Wesson Foods, Inc. v. Supreme Oil Co. is strikingly identical to this

case. 817 F.2d 75 (9th Cir. 1987). In that case, Hunt Wesson Foods sold vegetable

oil to Supreme Oil. Id. at 76. The parties’ contract included a forum selection

clause just like the one in this case:

      Buyer and Seller expressly agree that the laws of the State of California

      shall govern the validity, construction, interpretation, and effect of this

      Contract. The courts of California, County of Orange, shall have

      jurisdiction over the parties in any action at law relating to the subject

      matter or interpretation of this contract.

                                Response to Brief in Support of Motion to Remand - 6
      Case 1:22-cv-00021-SPW-KLD Document 9 Filed 03/31/22 Page 7 of 11


Id.

      When Supreme realized the vegetable oil did not conform to the quality

specifications in the contract, Supreme refused to pay the contract price, and Hunt

filed a complaint in the California Superior Court for Orange County. Id. After

Hunt served Supreme with process, Supreme filed a notice of removal before the

United States District Court for the Central District of California, which Hunt

challenged. Supreme—like ONEOK in this case—argued that the forum selection

clause did not grant state court exclusive jurisdiction. Id. The district court

disagreed and remanded the matter back to the state court. Id. After the district

court denied Supreme’s motion for relief, it appealed to the Court of Appeals for

the Ninth Circuit, arguing that the district court erred in interpreting the clause as a

mandatory forum selection clause. Id. at 77.

      The Court agreed. Id. at 77-78. The Court reasoned the plain meaning of the

clause is that the state court shall have jurisdiction over the action; the language

said “nothing about the Orange County courts having exclusive jurisdiction.” Id. at

77. Even though the word “shall” is a mandatory term, it mandated only that

Orange County courts had jurisdiction. Id. Without more language indicating that

only Orange County courts had jurisdiction, the forum selection clause did not

exclude the parties from litigating claims in other forums. Id. at 78.

      Mandatory forum selection clauses require that litigation occur only in a

specific court. Consider Pelleport Investors, Inc. v. Budco Quality Theatres, Inc.,

                               Response to Brief in Support of Motion to Remand - 7
     Case 1:22-cv-00021-SPW-KLD Document 9 Filed 03/31/22 Page 8 of 11


741 F.2d 273 (9th Cir. 1984). In that case, the Court ruled that the forum selection

clause was mandatory because the language excluded all other forums: “this

Agreement shall be litigated only in the Superior Court for Los Angeles (and in no

other).” Id. at 725 (emphasis added).

      The cases upon which Plaintiffs rely on are inapposite; all involved

mandatory language. See Kamm v. ITEX Corp., 568 F.3d 752, 754 (9th Cir. 2009)

(“[a]ny action brought by any party to this Agreement shall be filed and venue

shall be in the courts of the State of Oregon.”) (emphasis added); see also Polzin v.

Appleway Equip. Leasing, Inc., 191 P.3d 467, 478 (Mont. 2008) (“[i]f any Legal

Action or other proceeding shall be brought on or in connection with the

Equipment or this Lease, the venue of such Legal Action shall, at the option of the

Lessor, be in any State or County where any of the Equipment is then located, or in

Spokane County, Washington.”) (emphasis added).

      Here, the Governing Law Clause does not exclude all forums other than

those in Fallon County. Rather, the plain language illustrates that venue is proper

in Fallon County; it does not state that venue is proper only in Fallon County, or

that the case can only be filed in state court. Like the forum selection clause in

Hunt Wesson Foods, Inc., the Governing Law Clause in this case merely consents

to the venue in Fallon County. Despite the word “shall”, the parties did not

mandate that litigation must occur solely in Fallon County. Even if jurisdiction



                               Response to Brief in Support of Motion to Remand - 8
       Case 1:22-cv-00021-SPW-KLD Document 9 Filed 03/31/22 Page 9 of 11


“shall be proper” in Fallon County, the plain meaning of the parties’ Agreement

illustrates that jurisdiction is proper elsewhere, too.

II.    Plaintiffs’ Motion to Remand should be denied because the Governing
       Law Clause identifies this Court as the proper venue.

       Even if this Court disagrees, and finds that the Governing Law Clause is

mandatory, Plaintiff’s motion should still be denied because this Court is the only

venue overseeing Fallon County. Under L.R. 1.2(c)(1), the Billings Division

contains Fallon County. The Governing Law Clause plainly states that venue shall

be proper in Fallon County. Venue “refers to the geographic specification of the

proper court . . . for the litigation of a civil action that is within the subject-matter

jurisdiction of the district courts in general.” 28 U.S.C. § 1390. The only federal

venue overseeing Fallon County is this Court. Contrary to Plaintiffs’ argument, this

Court is the proper venue to oversee this matter.

III.   Even if the Governing Law Clause is mandatory, Plaintiff Cody
       Johnson is not a party to the Agreement.

       Finally, Plaintiff Cody Johnson is not entitled to remand because he is not a

party to the Agreement. Forum selection clauses are unenforceable against a non-

party to the agreement unless the non-party’s claims are “closely related” to the

rights and duties enumerated in the agreement. Manila Indus., Inc. v. Ondova Ltd.

Co., 334 Fed. App’x. 821, 823 (9th Cir. 2009). For a non-party’s claims to be so

closely related, the non-party must have a claim that requires resolution of some



                                Response to Brief in Support of Motion to Remand - 9
     Case 1:22-cv-00021-SPW-KLD Document 9 Filed 03/31/22 Page 10 of 11


aspect of the contract. Willis v. Princess Cruise Lines, 2020 WL 5353984, at *7

(C.D. Cal. 2020) (citing Manila Indus., Inc., 334 F. App’x at 823 (9th Cir. 2009)).

      Here, Plaintiff Cody Johnson’s claim need not be resolved with Plaintiffs U

Hanging Seven Ranch, Inc., and Quarter Circle UU Ranch’s claims. Cody Johnson

alleges that Defendant had a duty to close certain pasture gates, breached this duty,

and such breach resulted in his being charged by a bull and sustaining bodily

injuries. ECF Doc. 1, Ex. 2, pp. 6, 8. This event does not involve the subject-matter

of the Agreement—the easements and rights-of-way. Accordingly, even if this

Court concludes that the Governing Law Clause mandates that litigation occur in

Fallon County, Plaintiff Cody Johnson cannot benefit from the forum selection

clause and have his claims remanded, too.

                                  CONCLUSION

      For the forgoing reasons, the Court should deny Plaintiffs’ Motion to

Remand. Defendants properly removed this action to this Court based on diversity

jurisdiction, pursuant to 28 U.S.C. §§ 1332. The plain meaning of the parties’

Agreement allowed removal to this Court. Contrary to Plaintiffs’ argument, the

Agreement does not require that their claims be heard only in Fallon County state

court. Instead, the plain language of the Agreement grants both parties

jurisdictional flexibility. Accordingly, the Court should deny Plaintiff’s Motion for

Remand.



                             Response to Brief in Support of Motion to Remand - 10
    Case 1:22-cv-00021-SPW-KLD Document 9 Filed 03/31/22 Page 11 of 11


      DATED this 31st day of March, 2022.


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                                     By: /s/ Jon T. Dyre

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                      CERTIFICATE OF COMPLIANCE

      Pursuant to L.R.7.1(d)(2)(E), I certify that this Response to Plaintiffs’ Brief

in Support of Motion to Remand is printed with proportionately spaced Times New

Roman text typeface of 14 points; is double-spaced; and the word count, calculated

by Microsoft Office Word is 2217 words long, excluding the caption, Certificate of

Service, and Certificate of Compliance

      DATED this 31st day of March, 2022.


                                              CROWLEY FLECK PLLP



                                       By     /s/ Jon T. Dyre
                                              Jon T. Dyre


                             Response to Brief in Support of Motion to Remand - 11
